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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

  CERENCE OPERATING COMPANY,

                 Plaintiff,
                    v.
                                        Case No. 2:23-cv-00482-JRG
  SAMSUNG ELECTRONICS CO. LTD. And
  SAMSUNG ELECTRONICS AMERICA           JURY TRIAL DEMANDED
  INC.,

                Defendant.



                  PLAINTIFF CERENCE’S RESPONSE TO
           SAMSUNG’S OBJECTIONS TO TRANSFER ORDER (DKT. 119)
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 I.     LEGAL STANDARD

        A Magistrate Judge’s ruling on a non-dispositive pretrial matter can only be overturned to

 the extent it is “clearly erroneous or [] contrary to law.” Fed. R. Civ. P. 72(a). “The clearly

 erroneous standard of review does not entitle the reviewing district court to reverse or reconsider

 the Magistrate Judge’s order simply because it would decide the matter differently. Harrington v.

 Southwestern Bell Telephone L.P., 2021 WL 2879289, at *1 (W.D. Tex. Jan. 14, 2021). Rather,

 “Federal Rule 72(a) and Section 636(b)(1)(A) set out a highly deferential standard.” Ibarra v.

 Allstate Fire & Cas. Ins. Co., No. SA-20-CV-00280-JKP, 2021 WL 2516089, at *1 (W.D. Tex.

 June 18, 2021) (cleaned up).

 II.    ARGUMENT

        A.      No Errors Regarding the Google Witnesses

        The Report and Recommendation (“R&R,” Dkt. 112) properly applied the law when

 considering third-party Google witnesses. Samsung’s Objections lack merit for three reasons.

        First, Samsung legally errs by relying the outdated presumption that third parties are

 unwilling. Dkt. 119 at 1 (citing 2021 case). After 2022, movants cannot rely on this presumption.

 Now, the moving party “must adduce evidence” and not merely rely on presumptions. Def.

 Distributed v. Bruck, 30 F.4th 414, 433 (5th Cir. 2022).1

        Second, even if any presumption existed, it was overcome with a plethora of intrinsic and

 extrinsic evidence. Google cooperated by supplying witness declarations to Samsung without

 subpoena. E.g., Dkt. 54-5 to 54-7. Samsung named Google as a real party-in-interest in IPR2024-

 00978, -00979, -01464, and -01465 against Cerence’s patents. The evidence sufficiently shows




 1
  Non-movants still enjoy this presumption because “[i]t is the movant’s burden—and the movant’s
 burden alone— to ‘adduce evidence.’” In re Clarke, 94 F.3d 502, 508 (5th Cir. 2024).

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 that Google will send its witnesses to help Samsung across the country.

         Finally, Samsung waived its right for the Court to alternatively consider Google’s witnesses

 as willing witnesses by failing to raise this alternative argument in its opening brief. Dkt. 54 at

 12–13; Dkt. 119 at 1 (denying their willingness); e.g., Freeman v. Cty. of Bexar, 142 F.3d 848, 851

 (5th Cir. 1998); Def. Distributed, 30 F.4th at 433 (the moving party “must adduce . . . arguments”).

         B.      No Errors Regarding the Burden of Proof for All Third Party Witnesses

         The R&R made no errors when applying the heightened burden recently enumerated by

 the Fifth Circuit in In re Clarke, which requires the movant2 to adduce evidence clearly showing

 that each witness is likely to actually materialize. 94 F.3d at 502, 508–509 (5th Cir. 2024); Dkt.

 119 at 1–2, 7. Samsung argues the court should have followed outdated, non-binding legal

 precedent from EDTX and Federal Circuit cases. Dkt. 119 at 1–2. The R&R correctly dismissed

 Samsung’s reliance on outdated and non-binding EDTX and Federal Circuit caselaw, noting that

 those cases “all predate In re Clarke,” and “Samsung never addresses the issue of evidence actually

 materializing” (whether at trial, or elsewhere such as in hearings) thus waiving it entirely. Dkt. 112

 at 8; see Dkt. 84 at 2, 10–12; Dkt. 96 at 1–2 (arguing standard). The R&R made a factual finding

 that the prior art witnesses are unlikely to testify in part based on the “unrealistically high number

 due to the typical time allotted to each party to present their case at trial.” Dkt. 112 at 9.

         Transfer motions are governed by the law of the regional circuit. See e.g., Winner Int’l

 Royalty Corp v. Wang, 202 F.3d 1340, 1352 (Fed. Cir. 2000) (citing Stewart Org., Inc. v. Ricoh

 Corp., 487 U.S. 22, 32 (1988)) (“[M]otions to transfer, as a procedural matter, [are] governed by

 the law of the regional circuit in which [the district court] sits.”). Clarke, as recent Fifth Circuit



 2
   The burden of proof is “the movant’s alone,” so it is error to make presumptions/assumptions
 against the non-moving party. In re Clarke, 94 F.4th at 508, 513. The 2021 Federal Circuit cases
 cited on page 2 of Samsung’s Objections can no longer apply against non-movants.

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 precedent, is binding over older and contrary Federal Circuit caselaw.

        Judge Payne correctly considered whether the prior art witnesses would actually

 materialize at trial and held that “based on the relevant facts and issues in this case, we find that

 they are highly unlikely to actually testify at trial, and Samsung has offered no argument

 demonstrating anything to the contrary.” Dkt. 112 at 8. Numerous facts in the record support this

 finding, including the fact that Samsung has agreed to provide a Sotera stipulation, Samsung’s

 conduct in prior similar cases, and Samsung’s failure to explain why this case would require an

 unusually high number of prior art witnesses. Dkt. 96 at 1; Dkt. 84 at 11–12. Samsung did not

 rebut these facts. Therefore, there was no error of law or fact.

        When it came to giving witnesses reduced weight or no weight, Judge Payne correctly

 applied In re Clarke. 94 F.4th at 508. There is no “good cause” for transfer even when Samsung

 has evidence that “merely shows that the transferee venue ‘is more likely than not to be more

 convenient.’” Id. Samsung must further show “(1) that the marginal gain in convenience will be

 significant, and (2) that its evidence makes it plainly obvious—i.e., clearly demonstrated—that

 those marginal gains will actually materialize in the transferee venue.” Id.; Dkt. 112 at 3–4. Under

 this standard, any witnesses whom Samsung has not “clearly demonstrated” is needed in court (at

 trial or hearings) cannot serve as good cause for transfer at all—not even a discounted amount.

        C.      No Error Regarding Willing Witnesses

        The R&R correctly required that Samsung “makes it plainly obvious—i.e., clearly

 demonstrated—that those marginal gains will actually materialize in the transferee venue.” Dkt.

 112 at 4. Based on “materiality,” the R&R focused on travel to Texas to materialize “at trial,” and

 Samsung failed to meet this burden of proof. Id. at 11. It was harmless error that the R&R did not

 also consider whether Samsung’s witnesses would have materialized in Texas for hearings because




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 Samsung never made such an argument. Samsung’s opening motion did not even acknowledge the

 “actually materialize” standard, so Samsung neither recognized or argued that its witnesses needed

 to materialize at all at a hearing, trial, or other proceeding. Dkt. 54 at 8 (legal standard).

         Samsung argues that the Court failed to disregard Cerence’s reliance on 6 “unnamed

 Cerence engineers” and cannot “explain their relevance.” Dkt. 119 at 3. Contrary to Samsung’s

 statement, Cerence identified the names, title, and location of each relevant employee along with

 their team members in the declaration of Nadine Parla. Dkt. 84, Ex. 9 ¶ 6 and Appendix A–C.

 Cerence explained why these groups of witnesses were needed (2 engineers per product where

 marking is at issue). Dkt. 84 at 5–6.3

         D.      No Error Regarding Source of Proof

 Samsung has not found any error with the R&R regarding the sources of proof. Samsung’s

 Objections merely rehash Samsung’s arguments and ignore Cerence’s sources of proof without

 addressing how they should be weighed against each other. Thus, Samsung again failed to meet

 the burden of proving that for sources of proof, “the marginal gain in convenience will be

 significant” if trial is held in the NDCA. Clarke, 94 F.4th at 508 (emphasis original). Also, the

 R&R found that Samsung’s evidence was “too vague and speculative.” Dkt. 112 at 7. Samsung’s

 Objections failed to address Samsung’s evidentiary failure.

         E.      No Error Regarding Practical Problems

         The R&R properly weighed the practical problems against Samsung because Samsung

 delayed its motion until more than a year after the complaint. Dkt. 119 at 4. Samsung’s objections

 attempt to fault Cerence for somehow not identifying Google as a relevant party. This argument

 has no merit because Samsung has known, since the filing of the complaint, that the accused


 3
   The R&R discounted Cerence’s “unnamed marketing and customer witnesses” who were not
 similarly identified by name in a declaration. Dkt. 112 at 11.

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 Samsung Galaxy mobile devices use Google software and operating system. Dkt. 1, passim. Even

 after supposedly learning of Google’s relevance in March 2024 (Dkt. 119 at 4), Samsung still

 delayed until October 2024 before filing the transfer motion. Dkt. 55. Samsung’s Objections

 convenient provide a case for comparison: In re Apple Inc., 979 F.3d 1332 (Fed. Cir. 2020). “In

 September 2019, Uniloc sued Apple . . . . In November 2019, Apple moved to transfer.” Id. at

 1336–37. Samsung took a year to do what Apple did in two months.

         F.     Court Congestion Should Weigh Against Transfer

         If the R&R erred on this factor, it should have weighed court congestion against transfer

 because this case was timely proceeding to trial. “Under Fifth Circuit law, when a case is timely

 proceeding to trial, this counsels against transfer.” In re Planned Parenthood Fed’n of Am., Inc.,

 52 F. 4th 625, 632 (5th Cir. 2022).

         Samsung’s objections rely on In re Google for the rule that this factor does not matter if

 the patent owner is not engaged in competition, as was the case for the NPE Jawbone. Dkt. 119 at

 9; 58 F.4th 1379, 1383 (Fed. Cir. 2023). This was later overruled by the Fifth Circuit.

 III.    CONCLUSION

         Samsung’s Objections do not demonstrate reversable error. Samsung makes inaccurate

 assumptions, ignores Cerence’s facts, and relies on outdated law. Samsung also waived its

 objections to the threshold question, which Samsung must win (rather than leave undecided).

 Cerence respectfully asks the Court to overrule Samsung’s objections and deny transfer.

  Dated: April 7, 2025                    Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

         Pursuant to the Federal Rules of Civil Procedure and Local Rule CV-5, I hereby certify that

 on April 7, 2025, I electronically filed the foregoing document using the CM/ECF system which

 will send notifications to all parties of record.

 April 7, 2025                                           /s/ Qi (Peter) Tong
                                                         Qi (Peter) Tong




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